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C?Liir’il'i, U.S. DEST. CT.
‘:‘i!D. €JF TN. i\fsE;`MFHiS
UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20211-D

JOHN SIMMONS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, JUNE 8, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M. Pham
in Courtroom No. 6, Third Floor, United States Courthouse and F ederal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearingl

Date; June 3, 2005 M

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

llf not held immediately upon defendant‘s first appearance, the hearing may be continued for up to three days upon
motion of the government or up to five days upon motion of the defendant 18 U.S.C. § 3 l42(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(0 are presentl Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justi ce, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or jure .

AO 470 (BIBS) Order of Temporary Detentlon

This doct.ment entered on the docket sheegt i§compliance
wlth Fliile 55 and/or 32lbl FRCrP on 05

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20211 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

FPD

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l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

